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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

(l)VFS US LLC; and (2) VFS LEASING           )
co.                                          )
                                             )
                           Plaintiffs,       )
                                             )
v.                                           )          Case No. CIV-17-240-R
                                             )
 (1) COPELAND SERVICES INC., an              )
Oklahoma corporation; (2) COPELAND           )
HOT OIL SERVICE, L.L.C., an Oklahoma         )
limited liability company; (3) JANE D.       )
ROBISON, an individual; (4) KELLYL.          )
ROBISON, an individual; and (5) KEVIN        )
R. COPELAND, an individual,                  )
                                             )
                          Defendants.        )

                                         ORDER


       On July 14, 2020, Plaintiffs Motion for Hearing on Assets as to Defendants and

Other Relief was held before the Court. Judgment debtors failed to appear, produce

documents and be examined as to their assets. Upon agreement of the parties and for

good cause shown,

       IT IS HEREBY ORDERED that Judgment Debtors will produce all requested

documents to Plaintiffs counsel within fifteen (15) days from the date of this order and

appear for examination by Plaintiffs counsel on a date set by the Court..

     IT IS SO ORDERED this    AO t~ of July, 2020.


                                                 SHONT. ERWIN
                                                 MAGISTRATE JUDGE
